FILED
CHARLOTTE, NG

IN THE UNITED STATES DISTRICT COURT __ JAN 14 2021
FOR THE WESTERN DISTRICT OF NORTH CAROLINA —_ us pistrict court
MISCELLANEOUS ORDER 313) me 000°3,. “WESTERN DISTRICT OF Ne

IN RE:
MANDATORY AND
DISCRETIONARY
CONDITIONS OF
PROBATION AND
SUPERVISED RELEASE
ORDER

 

 

THIS MATTER is before the Court to review the existing standard conditions of
probation and supervised release in force in this District, as authorized by 18 U.S.C. 3563 and
3583, respectively, and to add to them certain conditions heretofore commonly imposed as
mandatory and standard conditions, in order to promote uniformity and to expedite the
sentencing process.

IT 1S, THEREFORE, ORDERED that the following shall be imposed and are
hereby deemed to be imposed as conditions of supervised release and probation for all such
terms of supervised release and probation given on or after January 1, 2021, unless
affirmatively omitted or altered by the presiding judge. Any reference in a Judgement or
pronouncement of sentence to the Mandatory and Discretionary Conditions of Supervised
Release as adopted in the Western District of North Carolina or the Mandatory and
Discretionary Conditions of Probation as adopted in the Western District of North Carolina
or the “Standard Conditions of Supervised Release as adopted in the Western District of North
Carolina” or the “Standard Conditions of Probation as Adopted in the Western District of
North Carolina” are hereby deemed to refer to and incorporate the following language:

Mandatory Conditions:

1. The defendant shall nol commit another federal, state, or local crime.
2. The defendant shall not unlawfully possess a controlled substance.

3. The defendant shall refrain from any unlawful use of a controlled substance.
Thedefendant shall submit to one drug test within 15 days of release from
imprisonment and at least two periodic drug tests thereafter, as determined
by the court (unless omitted by the Court).

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4. The defendant shall cooperate in the collection of DNA as directed by the
probation officer (unless omitted by the Court).

Discretionary Conditions:

The Court, having considered and found each of the below to be reasonably related to the
factors set forth in 18 U.S.C. 3553(a)(1), (a)(2)(B), (a)(2)(C) and (a)(2)(D), and involving 0
ereater deprivation of liberty than is reasonably necessary for the purposes set forth in 18
U.S.C. 3553(a)(2)(B), (a)(2)(C) and (a)(2)(D), and is consistent with policy statements issued
by the Sentencing Commission pursuant to 28 U.S.C. 994(a), the following shall be imposed
and are hereby deemed to be imposed as conditions of supervised release and probation.

5.  Thedefendant shall report to the probation office in the federal judicial district
where he/she is authorized to reside within 72 hours of release from
imprisonment, unless the probation officer instructs the defendant to report
to a different probation office or within a different time frame.

6. The defendant shall report to the probation officer in a manner and frequency
asdirected by the Court or probation officer.

7. The defendant shall not leave the federal judicial district where he/she is
authorized to reside without first getting permission from the Court or
probation officer.

8 The defendant shall answer truthfully the questions asked by the probation
officer,

9, The defendant shall live at a place approved by the probation officer. The
probation officer shall be notified in advance of any change in living
arrangements (such as location and the people with whom the defendant
lives).

10. The defendant shall allow the probation officer to visit him/her at any time al
his/her home or any other reasonable location as determined by the probation
office, and shall permit the probation officer to take any items prohibited by the
conditions of his/her supervision that the probation officer observes,

11. he defendant shall work full time (at least 30 hours per week) at lawful
employment, unless excused by the probation officer, The defendant shall
notify the probation officer within 72 hours of any change regarding
employment.

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The defendant shall not communicate or interact with any persons he/she
knows is engaged in criminal activity, and shal! not communicate or interact
with any person he/she knows to be convicted ofa felony unless granted
permission to do so by the probation officer.

The defendant shall notify the probation officer within 72 hours of being
arrested or questioned by a law enforcementofficer,

The defendant shall not own, possess, or have access to 4 firearm,
ammunition, destructive device, or dangerous weapon (i.c., anything that
was designed, or was modified for, the specific purpose of causing bodily
injury or death to another person such as nunchakus or tascrs).

The defendant shall not act or make any agreement with a law enforcement
agency to act as a confidential informant without first getting the permission
of the Court.

If the probation officer determines that the defendant poses a risk to another
person (including an organization), the probation officer may require the
defendant to notify the person about the risk. The probation officer may
contact the person and make such notifications or confirm that the defendant
has notified the person about the risk.

The defendant shall refrain from excessive use of alcohol and shall not
unlawfully purchase, possess, use, distribute or administer any narcotic or
controlled substance or any psychoactive substances (including, but not
limited to, synthetic marijuana, bath salts) that impair a person's physical or
imental functioning, whether or not intended for human consumption, or any
paraphernalia related to such substances, except as duly prescribed by a
licensed medical practitioner.

The defendant shall participate in a program of testing for substance abuse if
directed to do so by the probation officer. The defendant shall refrain from
obstructing or attempting to obstruct or tamper, in any fashion, with the
efficiency and accuracy of the testing. If warranted, the defendant shall
participate in in a substance abuse treatment program and follow the rules
and regulations of that program, The probation officer will supervise the
defendant's participation in the program (including, but not limited to,
provider, location, modality, duration, intensity) (unless omitted by the
Court).

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The defendant shall not go to, of remain at any place where he/she knows
controlled substances are illegally sold, used, distributed, or administered
without first obtaining the permission of the probation officer.

The defendant shalf submit his/her person, property, house, residence,
vehicle, papers, computers (as defined in 18 U.S.C, § 1030(e)(), or other
electronic communications or data storage devices or media, or office, to a
search conducted by a United States probation officer and such other law
enforcement personnel as the probation officer may deem advisable, without
a warrant based upon reasonable suspicion and/or with the consent of the
defendant. The defendant shall warn any other occupants that the premises
may be subject to searches pursuant to this condition.

The defendant shall pay any financial obligation imposed by this Judgment
remaining unpaid as of the commencement of the sentence of probation or
the term of supervised release in accordance with the schedule of payments
of this judgment. The defendant shall notify the court of any changes in
economic circumstances that might affect the ability to pay this financial
obligation. .

The defendant shall provide access to any financial information as requested
by the probation officer and shall authorize the release of any financial
information, The probation office may share financial information with the
U.S. Attorney's Office.

The defendant shall not seek any extension of credit (including, but not
limited to, credit card account, bank loan, personal loan) unless
authorized to do so in advance by the probation officer.

The defendant shall support all dependents including any dependent
child, orany person the defendant has been court ordered to support,

The defendant shall participate in transitional support services (including
cognitive behavioral treatment programs) and follow the rules and
regulations of such program, The probation officer will supervise the
defendant's participation in the program (including, but not limited to,
provider, location, modality, duration, intensity). Such programs may include
group sessions led by a counselor or participation in a program administered
by the probation officer.

The defendant shall follow the instructions of the probation officer related to
the conditions of supervision,

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IT IS FURTHER ORDERED that the probation officer shall provide each defendant
with a written statement that sets forth all conditions to which the sentence of probation or
term of supervised release is subject, and that is sufficiently clear and specific to serve as a

guide for the defendant's conduct and for such supervision as is required, as set forth in 18
U.S.C. 3583(d) and 3583(1), respectfully.

IF IS FURTHER ORDERED that this Order shall supersede any previous order of
the Court establishing standard conditions of probation or supervised release,

THIS 1" day of January, 2021

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Marti Reidinget__, franks D, Whitney
Chidf United States Dh eae Judge United States District Jud

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Robert J, Gro il Jr.
United States District Judge C

   

   

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Kenfeth D. Bell ‘aham C, Mullen
United States District Judge Senior United States District Judge

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Richard L. Voorhees
Senior United States District Judge

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